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                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


               UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF ALABAMA,
                        SOUTHERN DIVISION


CARLOS PADILLA,             )
               Plaintiff,   )
v.                          )                CIVIL ACTION No.:___________
                            )
REDMONT PROPERTIES, LLC, )
REDMONT PROPERTIES E.G., )
LLC, REDMONT PROPERTIES )
OF HOMEWOOD, LLC, and       )
FRED G. NUNNELLY III        )
                Defendants. )



                                 COMPLAINT
      The Plaintiff, Carlos Padilla (“Plaintiff”) on behalf of himself and all others
similarly situated, brings this cause of action to recover damages for the willful
conduct and continuous willful practice of not paying him, and others similarly
situated, the full earned wages and overtime earned against Defendant Redmont
Properties, LLC, Redmont Properties E.G., LLC, Redmont Properties of
Homewood, LLC, and Defendant Fred G. Nunnelly III (jointly referred as
“Defendants”) pursuant to 29 U.S.C. §216(b) of the Fair Labor Standard Act
(“FLSA”).
      Plaintiff hereby requests FLSA remedies for unpaid wages, lost wages,
liquidated damages, front pay, attorney’s fees, interest, and punitive damages, on
behalf of himself and all others similarly situated.
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                    LEGAL CAUSES OF ACTION
      1.     If an employee has worked overtime without due pay, he is entitled to
bring a private action under the FLSA of 1938, Pub. L. No. 75-718, 52 Stat. 1060
for damages, codified as 29 U.S.C. §216(b).
      2.     The Plaintiff for himself and others similarly situated, brings this
cause of action against the Defendants jointly and severally, for the willful and/or
wanton practice of not paying earned wages, and overtime earned but not paid,
pursuant to the Fair Labor Standards Act ("FLSA"), 29 U.S.C. §§207 (a)(1), et seq.
      3.     The FLSA provides a federal cause of action for an employee
claiming that his employer has failed to pay "one and one-half times the regular
rate at which he is employed" for all hours beyond forty (40) worked in a
workweek, 29 U.S.C. §§207(a)(2)(C), 216(b).
      4.     The Plaintiff was employed by the Defendants and hereby seeks
compensation for his damages and for any liquidated damages allowed by law. In
addition, Plaintiff seeks to produce a deterrent purpose under the FLSA, by
disclosing patterns of non-compliance by employers, and deter such misconduct to
other third parties who used to work for the Defendants during the last three years,
and/or are presently working for the Defendants.
      5.     Plaintiff seeks to recover from Defendants the amount of their unpaid
wages, unpaid overtime, compensatory, liquidated damages, prejudgment interest,
and attorney's fees on behalf of himself and all others similarly situated working
for any of the above-styled party Defendants pursuant to the FLSA, 29 U.S.C.
Sections 207 (a)(1), et seq.
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                       JURISDICTION AND VENUE
      The original jurisdiction, and the supplemental jurisdiction of this
Court comes under the following precepts:
      6.     This Court has original jurisdiction as there is a Federal issue
involving violations of the FLSA of 1938.
      7.     This Court has subject matter jurisdiction over this action pursuant to
28 U.S.C. §1331 and 29 U.S.C. §1391 (b)(c).
      8.     Venue is proper in this Court, the Northern District of Alabama,
pursuant to 28 U.S.C. §1391(b) and (c), as the Defendants’ main place of business
is in Jefferson county at the time Plaintiff commenced this action. The acts and
omissions in this cause took place in Jefferson County, Alabama.
      9.     This Court will have supplemental jurisdiction pursuant to 28 U.S.C.
§1367(a) for Alabama State law claims, if any, if such claims are "So related to
claims in the action within such original jurisdiction that they form part of the
same case or controversy under Article III of the United States Constitution."


                           BIOGRAPHICAL DATA
      10.    Plaintiff is an adult residing in Birmingham, Alabama. He has been
hired and employed by the Defendants since 2001. Plaintiff has been working for
the Defendants for over 15 years until the present date.
      11.    Defendants are employers engaged in commerce pursuant to the
FLSA and 29 U.S.C. §203(s), and at all times material hereto, engaged in
commerce within the meaning of the FLSA. Upon information and belief that
Defendant Redmont Properties , LLC ; Defendant Redmont Properties E.G., LLC,
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and Defendant Redmont Properties of Homewood, LLC are, each one of them, an
Alabama domestic corporation, doing business under each one of the above styled
names, and each one has its principal place of business in the same listed address,
or 2829 Thornhill Road, Birmingham, AL 35213.
      12.    Upon information and belief, Defendant Fred G. Nunnelly III is the
owner and manager of Defendant Redmont Properties of Homewood, LLC, and he
resides in Birmingham, Alabama, having as his place of business and/or service of
process as 2829 Thornhill Road, Birmingham, AL 35213.
      13.    Upon information and belief, each Defendant is an enterprise engaged
in interstate commerce with an annual gross revenue of not less than $500,000, and
their employees handle goods moved in interstate commerce.
      14.    At all times relevant to this action, Defendants were the “employers”
of the Plaintiff, and others similarly situated, as defined by §203(d) of the FLSA.
      15.    At all times material to this action, the Plaintiff, and all others
similarly situated, are and/or have been “employees” of the Defendants as defined
by §203(e)(i) of the FLSA, and worked for the Defendants within the territory of
the United States for more than three years preceding the filing of this law suit.


                          STATEMENT OF FACTS
      16.    The Defendants are in the business of real property management in
various locations of Jefferson county.
      17.    Defendants hired Plaintiff as a painter and he has done for Defendants
the painting and restauration of the properties owned and/or managed by these
Defendants. After a tenant left the premises, or his lease had expired, the Plaintiff
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was directed and supervised by the Defendants to work to restore the vacant
property for the next tenant to occupy it. Plaintiff also maintained occupied
properties for the Defendants when requiring maintenance or repairs. Plaintiff
worked as an employee for the Defendants every week of the year, and each week,
for over 15 years, the number of hours far exceeded 40 hours. Plaintiff was never
paid overtime, and never received any benefits from the Defendants.
      18.    The Plaintiff and other similarly situated employees regularly worked
in excess of 40 hours per week.
      19.    The Plaintiff and other similarly situated employees did not receive
wages at the rate of time and one-half the typical hourly rate for the hours worked
in excess of 40 hours in a given work week.
      20.    The Plaintiff was not entitled to and did not earn tips. The Plaintiff
was not an exempt employee. The Plaintiff was at all time- entitled to overtime.
      21.    Plaintiff is owed by Defendants compensation for his overtime hours
and Defendant has willfully failed to compensate him.
      22.    Defendant were well aware that the Plaintiff and similarly situated
employees routinely work in excess of 40 hours per week.
      23.    Defendants willfully and wantonly violated the FLSA by failing to
compensate overtime hours in excess of 40 hours in a given work week at a rate of
one and one-half times the regular hourly rate of pay.
      24.    As a result of Defendants’ violations of the FLSA, the Plaintiff, and
other similarly situated employees both past and present, have suffered damages by
failing to receive compensation at least equal to the federally mandated minimum
wage in accordance with §206 of the FLSA and have further suffered damages by
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failing to receive compensation at the rate of time and one-half per hour for hours
worked in excess of 40 hours per week in accordance with §207(a) of the FLSA.
      25.    The Plaintiff, and other similarly situated employees have been
damaged as a result of Defendants’ willful actions and have suffered loss of wages.
      26.    There are other similarly situated employees, both past and present, of
these Defendants who have been improperly compensated in violation of the FLSA
and who would benefit from the issuance of Court supervised notice of the present
lawsuit and the opportunity to join them as plaintiffs. Those similarly situated
employees are known to the Defendants and are readily identifiable and easy to
locate through Defendants’ records.
                  CLAIM FOR OVERTIME WORKED BY PLAINTIFF
      27.    In 2015 Plaintiff worked for Defendant from Monday to Saturday for
a total of 66 hours per week. His straight time rate was set at $19 per hour.
      28.    In 2016 Plaintiff worked for the Defendants from Monday to
Saturday, as follows:
             a.     January and February, 66 hours/week, at $19 per hour straight
                    time.
             b.     March, 70 hours/week, at $19 per hour straight time;
             c.     April, 80 hours/week, at $19 per hour straight time;
             d.     May, 85 hours/week, at $19 per hour straight time;
             e.     June, 88 hours/week, at $19 per hour straight time;
             f.     July, 90 hours/week, at $19 per hour straight time;
             g.     August, 86 hours/week, at $19 per hour straight time;
             h.     September, 70 hours/week, at $19 per hour straight time;
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             i.    October and November, 60 hours/week, at $19 per hour straight
                   time;
             j.    December, 70 hours/week, at $19 per hour straight time.
      29.    In 2017, Plaintiff worked for Defendant Monday to Saturday, as
follows:
             a.    January, 70 hours/week, at $19 per hour straight time;
             b.    February, 75 hours/week, at $19 per hour straight time;
             c.    March, 75 hours/week, at $19 per hour straight time;
             d.    April, 80 hours/week, at $19 per hour straight time;
             e.    May, 80 hours/week, at $19 per hour straight time;
             f.    June, 80 hours/week, at $19 per hour straight time;
             g.    July, 87 hours/week, at $19 per hour straight time;
             h.    August, 86 hours/week, at $19 per hour straight time;
             i.    September and October, 65 hours/week, at $19 per hour straight
                   time.
      30.    The Plaintiff was not paid proper overtime wages for his work in
excess of forty hours each work week.
      31.    Defendants refused to pay Plaintiff and continue to refuse to pay him
his correct wages and overtime accumulated.
      32.    Furthermore, upon information and belief, Defendants have engaged
in a pattern of similar conduct, luring other vulnerable minority individuals, and
refusing to compensate them fully for work performed for these Defendants, Upon
information and belief defendant employs a large number of laborers who are not
aware of their legal labor rights and have worked for an excess of 40 hours per
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week for many years. Upon information and belief these minority individuals have
never received any benefits from Defendants although some others equally situated
laborers may have received.


                           LEGAL CAUSES OF ACTION

      COUNT I              OVERTIME VIOLATIONS: FAIR LABOR
                           STANDARDS ACT, 29 U.S.C §201 et seq.
      33.     Plaintiff re-allege and incorporate by reference all preceding
paragraphs.
      34.     Upon information and belief, Defendants at all relevant times owned
and operated an enterprise engaged in commerce within the meaning of the Fair
Labor Standards Act of 1938 ("FLSA"), codified as, 29 U.S.C. §§201 et seq.
      35.     At all times relevant to this action, Defendants were Plaintiff’s
employers within the meaning of 29 U.S.C. §203.
      36.     At all times relevant to this action, Plaintiff was employed by the
Defendants within the meaning of 29 U.S.C. §203.
      37.     Defendants willfully failed to pay Plaintiff and others similarly
situated, overtime compensation for each hour they worked in excess of forty hours
in a workweek in violation of the FLSA, 29 U.S.C. §207.
      38.     Defendants’ violations of the FLSA, as described herein, were willful
and intentional.
      39.     The Plaintiff is entitled to recover from the Defendants, jointly and
severally, their unpaid overtime wages, an additional amount of liquidated
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damages, reasonable attorney's fees, and the costs of the action, pursuant to 29
U.S.C. §216(b), in an amount to be determined at the trial of this cause.

      40.      Defendants as employers, did the things hereinabove alleged

intentionally, oppressively, and maliciously.

      41.      Plaintiff is therefore entitled to punitive or exemplary damages against
the Defendants employers in an amount determined at the trial of this case.


                              REQUESTED RELIEF
      WHEREFORE, Plaintiff, individually and on behalf of other similarly
situated employees respectfully request that this Court grant the following relief:
      A.       That the Court issue proper process to compel Defendants to answer
or otherwise plead to all the allegations contained in this Amended Complaint.
      B.       That, at the earliest possible time, the Plaintiff be allowed to give
notice or that the Court issue such notice, to all similarly situated employees
employed by Defendants during the three (3) years immediately preceding the
filing of this suit, informing that this action has been filed, the nature of the action,
and of their right to join this lawsuit pursuant to 29 U.S.C. §216(b).
      C.       That this Court awards the Plaintiff and other similarly situated
employees and former employees of Defendants the amount of their unpaid
overtime wages and an additional equal amount as liquidated damages pursuant to
29 U.S.C. §216(b).
      D.      That Plaintiff be awarded reasonable attorney’s fees, costs and other
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expenses of this lawsuit pursuant to FLSA 29 U.S.C. §216(b). Lost wages and
liquidated damages equal to the lost wages;
            a. Front pay;
            b. Attorney’s fees;
            c. Pre-judgment interest; and,
            d. Punitive damages.
     E.     Other and further relief as this Court deems necessary and proper.
Respectfully submitted,


                              JURY DEMAND

     PLAINTIFF DEMANDS A TRIAL BY A STRUCK JURY.



                                                  /s/ Vicenta_Bonet Smith
                                                 VICENTA BONET-SMITH
                                                     Attorney for Plaintiff

Of Counsel:
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                                  SERVICE


Please serve the Defendants as follows:


1.          REDMONT PROPERTIES, LLC
            2829 Thornhill Road
            Birmingham, AL 35213


2.          REDMONT PROPERTIES E.G., LLC
            2829 Thornhill Road
            Birmingham, AL 35213


3.          REDMONT PROPERTIES HOMEWOOD, LLC
            2829 Thornhill Road
            Birmingham, AL 35213


4.          FRED G. NUNNELLY III
            2829 Thornhill Road
            Birmingham, AL 35213
